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                                                                                          FILED
                                                                                     IM nPFN COURT


                      IN THE UNITED STATES DISTRICT COURT FOR
                                                                                      DEC -3
                          THE EASTERN DISTRICT OF VIRGINIA
                                    Newport News Division                        L           —-n _
                                         ^                                      CLERK, U.S. DISTRICT UUUtiT
                                                                                       NORFOLK,VA
 UNITED STATES OF AMERICA                        )
                                                 )
               V.                                ) CRIMINAL NO.4:17crl25
                                                 )
 VISHAL JYOTINDRA PATEL,                         )
                                                 )
                    Defendant.                   )

                                   STATEMENT OF FACTS


    If this matter were to proceed to trial, the United States of America would prove beyond a

 reasonable doubt, by competent and admissible evidence, the following facts:

        1.     The Centers for Medicare and Medicaid Services issue National Provider

Identifiers (hereinafter "NPIs")to healthcare practitioners in the United States. NPIs are unique

10-digit identification numbers required for all healthcare providers and entities covered by the

Health Insurance Portability and Accountability Act of 1996 (hereinafter "HIPAA"). NPIs are

used by other payers, including commercial healthcare insurers, to identify individual healthcare

practitioners and entities.

       2.      The Virginia Department of Health Professions (hereinafter "DHP") administers

health regulatory boards in the Commonwealth of Virginia responsible for the licensure,

regulation, and discipline of healthcare practitioners and facilities. Each health regulatory board

enforces Virginia laws and regulations specific to its licenses. Among these boards is the Virginia

Board of Medicine, which regulates several professions, including Doctors of Medicine and

Surgery. Virginia law requires anyone practicing medicine in the Commonwealth of Virginia to

possess a valid, unrevoked license issued by the Virginia Board of Medicine.




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       3.      The Drug Enforcement Administration (hereinafter "DBA") is a United States

federal law enforcement agency under the U.S. Department of Justice responsible for enforcing

the Controlled Substances Act,21 U.S.C. §§ 801-971. In this capacity,DBA regulates individuals

and entities that handle or prescribe controlled substances. The Controlled Substances Act requires

any person who manufactures, distributes, or dispenses any controlled substance to obtain a

registration issued by the Attorney General in accordance with the rules and regulations

promulgated by him. DBA issues unique DBA registration numbers to healthcare practitioners,

which numbers allows such practitioners to write prescriptions for controlled substances. DBA

maintains records of such registrations consistent with the requirements of the Controlled

Substances Act.


       4.      At times relevant to the Indictment, VISUAL JYOTINDRA PATBL (hereinafter

"PATBL"),the defendant herein, was a resident of Glen Allen, Virginia. PATBL has never been

licensed by the Virginia Board of Medicine or DHP to practice medicine in the Commonwealth of

Virginia. Nor has PATBL ever been issued an NPI or a DBA Registration Number.

       5.      V.D.P. is a real person licensed to practice medicine in the Commonwealth of

Virginia who maintains a medical practice in Roanoke, Virginia. As required by the Controlled

Substances Act, V.D.P. is registered with the DBA.

       6.      V.D.P. had a rmique DBA registration number(last four digits 6476). This number

was a means ofidentifying V.D.P., as defined by Title 18,United States Code,Section 1028(d)(7).

       7.      AMN Healthcare is company headquartered in San Diego, California that provides

medical staffing services to healthcare organizations in the United States. AMN Healthcare

provides such services through various subsidiary companies.




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       8.      Staff Care is an AMN Healthcare company operating out of Texas that provides

flexible,temporary locum tenens (i.e., substitute)staffing for physicians, clinicians, and healthcare

professionals in all specialties. Staff Care recruits medical professionals to work temporary

assignments across the United States. Such individuals work as independent contractors of Staff

Care in accordance with the terms of Staff Care's Provider Service Agreements. To become an

independent contractor. Staff Care requires such professionals to complete a number of forms,

including W-9 Forms certifying their name, address, and social security number.

       9.      Stoneybrook Physicians is health center located and operating in Newport News,

Virginia. Among other services, Stoneybrook Physicians offers free and discounted health

services to qualifying patients.     Stoneybrook Physicians employs healthcare practitioners,

including Doctors of Medicine and Surgery. Among other means, Stoneybrook Physicians relies

on medical staffing servicers, including AMN Healthcare Staffing and its subsidiaries, to recruit

such practitioners.

        10.    Beginning on a date unknown but believed to he in or about at least August 2017,

and continuing to in or about December 2017, in the Eastern District of Virginia and elsewhere,

VISHAL JYOTINDRA PATEL, the defendant herein, devised a scheme and artifice to

fraudulently obtain employment as a Doctor of Medicine and Surgery.

        11.    An investigation conducted by law enforcement determined that the purpose ofthe

scheme and artifice was for PATEL to defraud healthcare staffing companies, facilities, and

employers operating in the Eastern District of Virginia and elsewhere and to obtain money and

property from such companies, facilities, and employers through false and fraudulent pretenses,

representations, and promises, including, among other things, false statements concerning

PATEL's qualifications and licenses to practice medicine.




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        12.     The investigation revealed that PATEL submitted applications to medical staffing

companies,including AMN Healthcare and StaffCare,through which PATEL sought engagement

as an independently contracted Doctor of Medicine and Surgery.

        13.     In such applications, PATEL falsely and fraudulently represented himselfto be an

individual licensed by the Virginia Board of Medicine to practice medicine in the Commonwealth

of Virginia. PATEL so represented himselfby,among other things, including false and fraudulent

information concerning his education, employment history, medical licenses, and registrations,

including but not limited to false NPls, Virginia Board of Medicine license numbers, and DEA

registration numbers.

        14.     In further support ofsuch applications,PATEL created and submitted falsified and

forged documents, which documents falsely represented that PATEL possessed the education,

training, certifications, licenses, and registrations required to practice medicine in the

Commonwealth of Virginia. These included, but were not limited to,false diplomas,examination

certificates, Virginia Board of Medicine licensing certificates, board certifications, and DEA

registration certificates.

        15.     PATEL included in such falsified and forged documents the personal identifying

information of other doctors who were then duly licensed to practice medicine in the

Commonwealth of Virginia, including but not limited to V.D.P. Among such information was the

DEA registration number then assigned to V.D.P.(last four digits 6476).

        16.     At the time he submitted the applications described herein, PATEL falsely and

fraudulently affirmed and acknowledged that the information he had provided in the applications

and attachments was true, complete, and correct.
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         17.   Through various means, PATEL obtained and attempted to obtain documents and

records ofother doctors, including V.D.P.,to verify PATEL's false claims regarding his licensing

and registrations. Among other documents and records,PATEL obtained and attempted to obtain

DEA registration certificates bearing V.D.P.'s name and DEA registration number(last four digits

6476).

         18.   To obtain such DEA registration certificates, PATEL submitted materially false

and forged documents to DEA registration technicians, including but not limited a W-9 Form

bearing PATEL's name. Glen Allen address, and social security number(last four digits 3621)and

V.D.P.'s DEA registration number (last four digits 6476).

         19.   With respect to Count Three ofthe Indictment, on or about October 2,2017,in the

Eastern District of Virginia, PATEL falsely and fraudulently directed a DEA registration

technician to alter the official DEA registration record of V.D.P. to change the social security

number assigned to V.D.P.'s DEA registration record from V.D.P.'s true social security number

(last four digits 0655)to PATEL's social security number (last four digits 3621).

         20.   PATEL then used V.D.P.'s DEA registration number (last four digits 6476) in

conjunction with his own social security number(last four digits 3621)to request a duplicate DEA

registration certificate bearing V.D.P.'s name and DEA registration number.

         21.   With respect to Count Five of the indictment, on or about October 5, 2017, the

defendant caused the mailing from Arlington, Virginia(within the Eastem District of Virginia) of

the duplicate DEA registration certificate bearing the name and DEA registration munber(last four

digits 6476)of V.D.P.

         22.   Through the applications and commurdcations described herein, PATEL

fraudulently induced medical staffing companies to enter agreements, including Provider Service
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Agreements, through which such companies agreed to employ PATEL as an independent

contractor and to assign him positions with client healthcare facilities. PATEL completed,

executed, and signed such agreements and all other documents required to establish his

relationship with such medical staffing companies,including but not limited to W-9 forms.

       23.    Through such medical staffing companies, PATEL obtained and attempted to

obtain emplojmient and placement as a Doctor of Medicine and Surgery at healthcare facilities and

employers located in the Eastern District of Virginia and elsewhere, including but not limited to

Stoneybrook Physicians.

       24.     While falsely and fraudulently posing as a duly licensed Doctor of Medicine and

Surgery, PATEL practiced medicine at such facilities by, among other things, seeing patients,

conducting and ordering tests and examinations, and prescribing and/or altering patient

medications,including some controlled. PATEL received and attempted to receive things ofvalue

in exchange for these false and fraudulent medical services, including but not limited to hourly

and salary wage payments.

        25.   The defendant stipulates and agrees that his participation in the events described

 was rmdertaken knowingly, intentionally and unlawfully and not as a result of an accident,

 mistake or other innocent reason.


                                            Respectfully Submitted,


                                              G.ZACHARY TERWILLIGER
                                              UNITED STATES ATTORNEY


                                     By:
                                            Brian J. Samuels
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        After consulting with my attorney, I hereby stipulate that the above Statement ofFacts

is true and accurate, and that had the matter proceeded to trial, the United States could prove

these facts beyond a reasonable doubt.


                                             VI^AL JYOTINDRA PATEL
                                             Defendant


        I am counsel for VISHAL JYOTINDRA PATEL. I have carefully reviewed the above

 Statement of Facts with him. To my knowledge, his decision to stipulate to these facts is an

informed and voluntary one.


                                             Fernando         ene, Esq.
                                             Coimsel          Defendant
